67 F.3d 295
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Willie Gene HECTOR, Petitioner,v.UNITED STATES SENTENCING COMMISSION, Respondent.
    No. 95-1921.
    United States Court of Appeals, Fourth Circuit.
    Sept. 12, 1995.
    
      Willie Gene Hector, petitioner pro se.
      Robert David Kamenshine, Leonard Schaitman, United States Department of Justice, Washington, DC, for appellee.
      Before WIDENER, HALL, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Willie Gene Hector filed in this court a petition for review of the February 1995 Special Report to Congress prepared by the United States Sentencing Commission (the "Commission").  The report recommends, in part, that the Commission reconsider the present 100 to 1 crack to cocaine ratio contained in the guidelines.  United States Sentencing Commission, Guidelines Manual, Sec. 2D1.1 (Nov.1994).  This court is without jurisdiction to review the rule-making process of the Commission.  Washington Legal Found. v. United States Sentencing Comm'n, 17 F.3d 1446, 1450 (D.C.Cir.1994);  Andrade v. United States Sentencing Comm'n, 989 F.2d 308, 309 (9th Cir.1993).  Accordingly, we deny Hector's motion for leave to proceed in forma pauperis and dismiss the petition.  In light of this disposition, the Respondent's motion to hold the briefing schedule in abeyance is denied as moot.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      PETITION DISMISSED.
    
    